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          EXHIBIT G
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                                                             Employees’ Retirement System of the City of Baton Rouge and Parish of East Baton Rouge Losses                                                           GreenSky, Inc.



                                                                            Post‐Filing
                                                           Purchase Price                                                 Sales on Class
             Transaction                                                     Sale Price    Class Period   Class Period
Trade Date                 # Shares      Share Price ($)     Limited by                                                      Period            Cost          Proceeds                          Damage Summary
                Type                                                        Limited by      Purchases        Sales
                                                             Offer Price                                                   Purchases
                                                                            Filing Price
 5/24/2018    Purchase         304.00                23          23.0000                           304             ‐                ‐      $    6,992.00             ‐      Total Purchases:                                17,605
 5/24/2018      Sale          (304.00)            22.15                                            ‐              (304)            (304)             ‐   $     (6,733.60)   Total Sales:                                   (17,605)
  7/6/2018    Purchase         645.00        21.250496           21.2505                           645             ‐                ‐      $   13,706.57             ‐      Total Sales on Purchases:                      (17,605)
  7/9/2018    Purchase         793.00             22.06          22.0600                           793             ‐                ‐      $   17,493.58             ‐      Shares Held:                                       ‐
  7/9/2018    Purchase         522.00        21.631302           21.6313                           522             ‐                ‐      $   11,291.54             ‐      Price on Date of First Suit*:        $            9.92
 7/10/2018    Purchase       2,191.00        22.023601           22.0236                         2,191             ‐                ‐      $   48,253.71             ‐
 7/10/2018    Purchase         787.00             22.38          22.3800                           787             ‐                ‐      $   17,613.06             ‐      Total Purchases:                     $      365,868.13
 7/11/2018    Purchase       2,332.00        21.069198           21.0692                         2,332             ‐                ‐      $   49,133.37             ‐      Total Sales Proceeds:                $     (161,682.78)
 7/11/2018    Purchase       1,467.00        21.177402           21.1774                         1,467             ‐                ‐      $   31,067.25             ‐      Total Retained Value:                $             ‐
 7/12/2018    Purchase       1,827.00        20.431702           20.4317                         1,827             ‐                ‐      $   37,328.72             ‐
 7/13/2018    Purchase       1,606.00        19.146102           19.1461                         1,606             ‐                ‐      $   30,748.64             ‐      Total Loss:                          $     204,185.35
 7/13/2018    Purchase         568.00        19.235193           19.2352                           568             ‐                ‐      $   10,925.59             ‐
 7/16/2018    Purchase         320.00        19.243187           19.2432                           320             ‐                ‐      $    6,157.82             ‐      *The Date of First Suit/Filing Date used is 11/12/2018.
 7/18/2018    Purchase         805.00        19.769403           19.7694                           805             ‐                ‐      $   15,914.37             ‐
 9/11/2018    Purchase       1,186.00          20.0772           20.0772                         1,186             ‐                ‐      $   23,811.56             ‐
 9/12/2018    Purchase       2,059.00        20.622399           20.6224                         2,059             ‐                ‐      $   42,461.52             ‐
10/18/2018    Purchase         193.00         15.38259           15.3826                           193             ‐                ‐      $    2,968.84             ‐
 11/6/2018      Sale        (8,032.00)             8.79                                            ‐            (8,032)          (8,032)             ‐   $    (70,601.28)
 11/6/2018      Sale        (9,269.00)              9.1                                            ‐            (9,269)          (9,269)             ‐   $    (84,347.90)
